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                        EXHIBIT 1
Case: 1:19-cv-01610 Document #: 276-2 Filed: 11/16/21 Page 2 of 12 PageID #:5326


From:              Robert A. Braun
To:                Wahl, Suzanne L.; Brandon Boulware; Bierig, Jack R.; chuck.hatfield@stinsonleonard.com
Cc:                matt@williamsdirks.com; Jeremy Suhr; Courtney Stout
Subject:           [EXT] RE: Sitzer ESI Proposal
Date:              Friday, May 1, 2020 2:03:33 PM
Attachments:       image001.png
                   image002.png


Correct. Thanks.


From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Friday, May 1, 2020 2:02 PM
To: Robert A. Braun <RBraun@cohenmilstein.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: RE: Sitzer ESI Proposal

Robby,

We agree to make that change to Search 45.

With this, we believe we’re in agreement with respect to the search terms (attached) and
the custodian list (below). Can you confirm?

Thanks,

Suzanne

***
NAR CUSTODIAN LIST

   1.   Andrew Scoulas
   2.   Chris Harrigan
   3.   Clifford Niersbach
   4.   Diane Mosley
   5.   Jeremy Green
   6.   Kate Lawton
   7.   Katherine Goldberg
   8.   Kevin Milligan
   9.   Rene Galicia
  10.   Rodney Gansho
  11.   Charles Dawson
  12.   Bob Goldberg
  13.   Dale Stinton
  14.   Katie Johnson
  15.   Lawrence Yun
  16.   Sarah Young
  17.   Marc Gould
        Jessica Lautz
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  18.
  19. Victoria Gillespie


From: Robert A. Braun [mailto:RBraun@cohenmilstein.com]
Sent: Thursday, April 30, 2020 8:11 PM
To: Wahl, Suzanne L. <SWahl@schiffhardin.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: [EXT] RE: Sitzer ESI Proposal

Suzanne,

We agree to the adjustments you reference in the paragraph beginning with “[f]irst,” with only one
exception. As you’re aware, the FTC’s jurisdiction includes competition-related issues; accordingly,
we had not intended to delete the term “*@ftc.gov”. As you note, we did agree to delete the term
“Federal Trade Commission,” though not due to its irrelevance, but in order to reach a reasonable
compromise in response to NAR’s objection that ““Federal Trade Commission” AND Commission”
was hitting on an especially large number of documents. Consistent with this, we understand that
NAR likewise did not delete “*@ftc.gov” in its prior search term proposal.

Additionally, as Brandon’s prior email stated, the search term and custodian proposals to NAR are
made on behalf of both the Moehrl and Sitzer plaintiffs with the intent that they be applicable to
both cases (subject to the reservations in the last paragraph of Brandon’s email).

Finally, I have confirmed with Brandon that the only outstanding issue between the Sitzer Plaintiffs
and NAR for the May 6, 2020 status conference is the Sitzer Plaintiffs’ interrogatory concerning
third-party CIDs.

Regards,
Robby


From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Thursday, April 30, 2020 6:45 PM
To: Brandon Boulware <Brandon@boulware-law.com>; Robert A. Braun
<RBraun@cohenmilstein.com>; Bierig, Jack R. <JBierig@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: RE: Sitzer ESI Proposal

Brandon and Robby,

Subject to the comments below, NAR agrees to plaintiffs’ proposed search terms as
amended in the attached document. NAR also agrees to the custodian list in your most
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email – with the deletion of Mr. Lombardi.

As you will see, NAR’s edits to plaintiffs’ proposed search terms are intended only to correct
errors. We do not believe that they should be controversial. If you disagree, please let us
know as soon as possible. For the avoidance of doubt, we have set out the agreed custodian
list below. This said, our comments are set forth below.

First, if you have any additional changes to propose, we request that you provide us with a
document showing the changes between this version and your proposal. It appears that you
reformatted several searches in this version, which required additional time-consuming
review on our end, introduced syntax errors that we had to correct and rerun, incorporated
at least one revision of an agreed-upon change, and appears to have (inadvertently, we
assume) deleted eight search strings.

      When you recombined Search 28, you reverted the search string to its earlier form
      that you had agreed to modify. Specifically, in your April 6, 2020 email, you had
      agreed to remove the portion of the string that included “realtor w/10 schedule”, but
      your latest version reincorporates what you had agreed to remove. We assume that
      this was an error and have, therefore, added “(agent* or broker*) w/10 schedule” as
      a separate string. If you intend to stand on this change, please let us know, and
      direct us to any other substantive changes you have made in the search terms.
      In order to properly use the “and not” connector in Search 12, we broke out the
      protect* w/5 search string.
      You appear to have deleted all of the strings associated with Search 14 other than the
      one with the “cheat” root. We would be happy to delete these but assume this was an
      error and have added them back.
      You also appear to have deleted the deposition* search term from Search 4. Again,
      we would be happy to delete this but assume it was an error and have added it back.
      We also noticed that Search 45 still has *@ftc.gov, when all the other FTC search
      strings were removed. We believe this was an oversight when we made the post-meet
      and confer changes after Robby indicated that we could remove all the FTC and
      “federal trade commission” terms. Accordingly, we have deleted the search term.
      We removed duplicative “or” connectors in Searches 3 and 42.
      We corrected parentheses issues in Searches 4 and 28.1.
      We added missing quotation marks in Searches 53, 64, 73 and 507.
      Search 21 was missing the “w” in “w/10.”

Second, with respect to Search 15, we discussed removing this search on our April 16 meet
and confer. Robby stated that he would think about agreeing to remove it. That is why we
included it on our list of proposed changes. We understand that you have now decided to
reject that change. Therefore, the attached search term list includes Search 15 with the
limiter as provided in your April 27 search term proposal.

Third, we agree that we have previously discussed a “go get” approach to searches 2, 81,
83, 87, 88 and 95, rather than including them as search term documents. We note that
there are still open issues to be discussed on these points, including with respect to burden,
especially with respect to searching the HUB, and to scope (e.g., confirmation from you of
which publications plaintiffs are requesting).

Fourth, as we have said before, NAR reserves the right to edit these search terms with
respect to the custodians that NAR has not yet collected and tested, as these search terms
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may return irrelevant or burdensome results. Our understanding is that plaintiffs agree to
negotiate in good faith with regard to any edits.

Fifth, other than our dispute regarding disclosure of the identity of recipients of DOJ CIDs,
we are not aware of other disputed discovery issues -- assuming that we have reached
agreement on search terms, custodians, and the time period for discovery. If you are
aware of other currently existing disputes, please identify them for us.

Finally, on our meet and confer on April 23, Robby agreed to confirm in writing that, with
respect to NAR, the Moehrl plaintiffs agree that the agreed upon Sitzer search terms and
custodians will also be the agreed-upon search terms and custodians for the Moerhl case,
understanding that the Moehrl plaintiffs may later seek additional discovery if subsequent
discovery indicates that additional search terms or custodians are necessary. Robby, please
confirm this understanding in writing.

At this time, we believe the only open item that NAR and the Sitzer plaintiffs will have for
the May 6, 2020 status conference is the disclosure of the identity of recipients of third
party DOJ CIDs. Please let us know if you disagree.

Thanks,

Suzanne

***
NAR CUSTODIAN LIST

   1.   Andrew Scoulas
   2.   Chris Harrigan
   3.   Clifford Niersbach
   4.   Diane Mosley
   5.   Jeremy Green
   6.   Kate Lawton
   7.   Katherine Goldberg
   8.   Kevin Milligan
   9.   Rene Galicia
  10.   Rodney Gansho
  11.   Charles Dawson
  12.   Bob Goldberg
  13.   Dale Stinton
  14.   Katie Johnson
  15.   Lawrence Yun
  16.   Sarah Young
  17.   Marc Gould
  18.   Jessica Lautz
  19.   Victoria Gillespie



From: Brandon Boulware [mailto:Brandon@boulware-law.com]
Sent: Monday, April 27, 2020 10:17 PM
To: Wahl, Suzanne L. <SWahl@schiffhardin.com>; Robert A. Braun <RBraun@cohenmilstein.com>;
Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Case: 1:19-cv-01610 Document #: 276-2 Filed: 11/16/21 Page 6 of 12 PageID #:5330


Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: [EXT] RE: Sitzer ESI Proposal

Jack and Suzanne -

Pursuant to the Sitzer Court’s April 6, 2020 Order, attached is a search term counter-proposal
to NAR, which is offered on behalf of both the Sitzer and Moehrl Plaintiffs. As discussed on
last Thursday’s call, we request that NAR closely review the attached search term proposal, so
that if there are any discrepancies or errors (e.g., it appears that the term “senat*” in Search 6
had previously been misspelled), the parties are able to quickly resolve them in advance of the
upcoming status conference in the Sitzer case. We understand that Plaintiffs and NAR have
agreed to each element of the attached search term proposal, with the following exceptions:

      Search 18
      Search 47
      Search 71
      Search 15 [NAR appears to have unilaterally omitted this search from its April 22 hit
      reports despite the absence of an agreement by the parties, or even a prior proposal by
      NAR, to do so]

With respect to Search 15, as reflected in the attached spreadsheet, we are willing to accept
NAR’s previously proposed limiter. Additionally, as previously discussed, Plaintiffs have
agreed to the removal of certain strings (and/or terms from otherwise agreed strings) on the
condition that NAR conduct a reasonable search for relevant documents in its central files—
e.g., Searches 2, 81, 83, 87, 88, and 95.

Plaintiffs also propose the following NAR custodians for the Sitzer and Moehrl suits:

      Andrew Scoulas
      Chris Harrigan
      Clifford Niersbach
      Diane Mosley
      Jeremy Green
      Kate Lawton
      Katherine Goldberg
      Kevin Milligan
      Rene Galicia
      Rodney Gansho
      Charles Dawson
      Bob Goldberg
      Dale Stinton
      Katie Johnson
      Lawrence Yun
      Sarah Young
      Marc Gould
      Jessica Lautz
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      Victoria Gillespie
      Matthew Lombardi

We understand that NAR has agreed to each of the above custodians, with the exception of
Matthew Lombardi. We believe that Mr. Lombardi is likely to possess relevant and
responsive documents (including due to his senior roles as staff executive for the Strategic
Thinking Advisory Committee, manager of NAR’s member and consumer communications
and marketing, and supervisor over major NAR conferences, meetings, and events).
Nevertheless, in an effort to compromise, if NAR will agree without further revision to
Plaintiffs’ attached search term counter-proposal, Plaintiffs will agree to remove Mr.
Lombardi from our custodian list. Otherwise, Plaintiffs intend to move forward with seeking
Mr. Lombardi’s inclusion among NAR’s custodians.

Finally, in negotiating search terms and custodians, Plaintiffs have relied on NAR’s
representations as to the custodians and search terms likely to retrieve relevant and responsive
documents. Plaintiffs reserve all rights to seek additional custodians and search terms if
appropriate, including based on new information that comes to light or should Plaintiffs learn
that NAR failed to disclose relevant custodians and search terms. Additionally, and per our
discussions, the Sitzer Plaintiffs understand that the parties’ agreements on search terms,
custodians, and post-complaint discovery, and the Court’s recent ruling on pre-limitations
discovery, have resolved or will resolve all objections with respect to discovery (excluding
“go get” documents), except as to privilege and work product. Please advise us if NAR
intends to maintain any non-privilege objections with respect to discovery.

Thank you.

Brandon Boulware | Attorney
Boulware Law
1600 Genessee, Suite 416
Kansas City, Missouri 64102
brandon@boulware-law.com
O: (816) 492-2826
C: (816) 590-1882




From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Wednesday, April 22, 2020 12:07 PM
To: Robert A. Braun <RBraun@cohenmilstein.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Case: 1:19-cv-01610 Document #: 276-2 Filed: 11/16/21 Page 8 of 12 PageID #:5332


Subject: RE: Sitzer ESI Proposal

Hi Robby and Brandon,

Pursuant to the Court’s April 6 2020 Order and our agreement to extend the time for our
response until April 22, NAR proposes the attached search term list.

We also attach two hit reports. The first reflects the changes we discussed in our Thursday
April 16 to Searches 3, 4, 7, 8, 12, 14, 15 (which was removed in its entirety), 25, 28, 31,
42 and 45. We have renumbered the “broken out” search terms as 3.001, 3.002, etc. for
ease of reference and to avoid any errors in trying to recombine the broken out searches
into one term. The edits are shown in red in the Excel file.
       In Search 3, we removed expens*, outlook, and share.
      In Search 4, we removed prosecut*, subpoena* and probe*.
      In Search 7, we changed analys* to analysis or analyses; share* to share or shares;
      MLS w/10 to data to MLS w/5 data; and deleted MLS w/10 report.
      In Search 8, we removed outlook.
      In Search 12, we changed deter* to deter, deters, etc.; market* to market or
      markets; and added and “AND NOT” term to remove false hits for links.
      In Search 14, we added the w/50 limiter and added fee or fees; and we changed
      cheat* to cheat, cheats, etc.
      We removed Search 15.
      In Search 25, we removed share and searches that overlapped with Search 3.
      In Search 28, we changed w/10 income to w/4 income.
      In Search 31, we replaced compet* with compete, competes, etc.
      In Search 42, we added a limiter to manipulat* that included commission, price, fee,
      compensation.
      In Search 45, we removed FTC or federal trade commission.

The second reflects proposed additional changes to the following search terms; the edits are
shown in green in the Excel file.

      Add a w/10 market limiter to Search 7.002 (MLS w/10 (share or shares)). This search
      term is still returning a significant number of unique hits, even with the alteration. On
      our meet and confer, you all stated that you wanted to include this search term to
      find discussions about MLS market share. Our preliminary review of this search term
      is that it hits for discussions about sharing information or materials with MLSs. Adding
      the term “market” makes it more likely that this search term will return the results
      you are seeking, instead of extraneous documents.
      Change Search 7.007 (MLS w/5 data) to “MLS data”. Our preference would be to
      remove this search term entirely, as our initial review is primarily returning
      documents that do not appear to be relevant. However, in the interest of compromise,
      we propose changing the search to “MLS data.”
      Change Search 18 to remove the term “requir*.” On our meet and confer, you stated
      that any document that states a requirement of participation in NAR or an MLS or a
      local association is potentially evidence of market power and should be reviewed. We
      disagree with this assertion. Moreover, the search term is pulling in “requirements”
      that are clearly irrelevant to the case and to plaintiffs’ theory of market power – about
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      lockboxes standards, the timing to request a hearing under MLS rules, etc. We
      propose removing the term “requir*” to avoid pulling in these types of results.
      Add a w/10 (commission* or compensation*) limiter to Search 47. We do not agree
      that any mention of antitrust compliance or analysis unrelated to the facts of this case
      are relevant. Further, these search terms are likely to generate a significant number
      of privileged documents, requiring additional burdensome review.
      Change Search 71 to remove the term “requir*”, for the same reasons as Search 18.

As we said on the call, NAR reserves the right to edits these search terms with respect to
the custodians that NAR has not yet collected and tested, as these search terms may return
irrelevant or burdensome results. Our understanding is that plaintiffs agree to negotiate in
good faith with regard to any edits.

For custodians, NAR made its last proposal on April 8 and reattaches it here for
convenience.

Please let us know when you would like to discuss. We are available for a call this week on
Thursday between 2 and 3:30 pm central.

Thanks,

Suzanne



From: Wahl, Suzanne L.
Sent: Wednesday, April 15, 2020 10:31 AM
To: 'Robert A. Braun' <RBraun@cohenmilstein.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: RE: Sitzer ESI Proposal

Hi Robby and Brandon

Here are the hit reports for the proposed search terms as modified by Robby’s April 6 email,
as well as the requested “broken up” versions of certain search strings.

I am still reviewing the broken out search results, so I do not have proposals to share at
this point.

Thanks,

Suzanne

From: Robert A. Braun [mailto:RBraun@cohenmilstein.com]
Sent: Monday, April 13, 2020 11:12 AM
To: Wahl, Suzanne L. <SWahl@schiffhardin.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: [EXT] RE: Sitzer ESI Proposal
Case: 1:19-cv-01610 Document #: 276-2 Filed: 11/16/21 Page 10 of 12 PageID #:5334



Thanks Suzanne. We appreciate it.


From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Monday, April 13, 2020 11:11 AM
To: Robert A. Braun <RBraun@cohenmilstein.com>; Brandon Boulware <Brandon@boulware-
law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>; chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: RE: Sitzer ESI Proposal

Yes. I will have the hit reports for you by Wednesday morning.

I am also working on proposals for changes based on the search terms that were broken
out, though I may not be able to have all of those to you by Wednesday morning.

From: Robert A. Braun [mailto:RBraun@cohenmilstein.com]
Sent: Monday, April 13, 2020 11:08 AM
To: Brandon Boulware <Brandon@boulware-law.com>; Wahl, Suzanne L.
<SWahl@schiffhardin.com>; Bierig, Jack R. <JBierig@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>
Subject: [EXT] RE: Sitzer ESI Proposal

Jack and Suzanne,

I’m also available during those times. To ensure that the call is productive, it would be helpful to
receive any hit report(s) at least 24 hours in advance. Is NAR in a position to do that?

Regards,
Robby

From: Brandon Boulware <Brandon@boulware-law.com>
Sent: Monday, April 13, 2020 10:59 AM
To: Wahl, Suzanne L. <SWahl@schiffhardin.com>; Bierig, Jack R. <JBierig@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>; Robert A. Braun <RBraun@cohenmilstein.com>
Subject: RE: Sitzer ESI Proposal

Those times work for me. Robby?

Brandon Boulware | Attorney
Boulware Law
1600 Genessee, Suite 416
Case: 1:19-cv-01610 Document #: 276-2 Filed: 11/16/21 Page 11 of 12 PageID #:5335


Kansas City, Missouri 64102
brandon@boulware-law.com
O: (816) 492-2826
C: (816) 590-1882




From: Wahl, Suzanne L. <SWahl@schiffhardin.com>
Sent: Monday, April 13, 2020 9:15 AM
To: Brandon Boulware <Brandon@boulware-law.com>; Bierig, Jack R. <JBierig@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>; Braun, Robert (Cohen Milstein Sellers & Toll PLLC)
<rbraun@cohenmilstein.com>
Subject: RE: Sitzer ESI Proposal

Hi Brandon,

We’re available Thursday April 16 at 9-10 central or 2-4 central. Does that work for your
team?

Thanks,

Suzanne

From: Brandon Boulware [mailto:Brandon@boulware-law.com]
Sent: Friday, April 10, 2020 6:40 PM
To: Bierig, Jack R. <JBierig@schiffhardin.com>; Wahl, Suzanne L. <SWahl@schiffhardin.com>;
chuck.hatfield@stinsonleonard.com
Cc: matt@williamsdirks.com; Jeremy Suhr <Jeremy@boulware-law.com>; Courtney Stout
<cstout@williamsdirks.com>; Braun, Robert (Cohen Milstein Sellers & Toll PLLC)
<rbraun@cohenmilstein.com>
Subject: [EXT] Sitzer ESI Proposal


 CAUTION: External email.




Jack and Suzanne –

Pursuant to the Court’s April 6, 2020 Order, the Sitzer Plaintiffs propose the attached search
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term list. The parties have met and conferred regarding search terms on multiple occasions,
and our intention is to incorporate the agreed-upon modifications into the proposed search
terms. Those modifications are not reflected in the attached list, but have been memorialized
in multiple emails not attached here.

With respect to custodians, the parties have made good strides at agreeing on a custodian list. I
believe the attached email reflects our most recent back-and-forth on the subject.

We look forward to continue working with NAR to finalize search terms and custodians. To
that end, please let us know your availability next week for a meet/confer.

Thank you.

Brandon Boulware | Attorney
Boulware Law
1600 Genessee, Suite 416
Kansas City, Missouri 64102
brandon@boulware-law.com
O: (816) 492-2826
C: (816) 590-1882




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error. Then delete it. Thank you.
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